          Case 5:21-cv-00844-XR Document 183 Filed 01/10/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


  LA UNIÓN DEL PUEBLO ENTERO, et al.,

                         Plaintiffs,

                 v.                                             Civil Action No. 5:21-cv-844 (XR)
                                                                (Consolidated Cases)
  GREGORY W. ABBOTT, et al.,

                         Defendants.



 UNITED STATES’ OPPOSITION TO DEFENDANTS’ MOTION TO CONSOLIDATE

       The United States respectfully submits this opposition to the State’s request to

consolidate Longoria v. Paxton, No. 5-21-cv-1223 (W.D. Tex.), with the cases already

consolidated under LUPE v. Abbott, No. 5:21-cv-844 (W.D. Tex.). Mot. to Consol., ECF No.

172. Rule 42 of the Federal Rules of Civil Procedure permits consolidation “to avoid

unnecessary cost or delay.” Fed. R. Civ. P. 42(a)(3); Hall v. Hall, 138 S. Ct. 1118, 1124 (2018).

Thus, consolidation “should be used to expedite trial and eliminate unnecessary repetition and

confusion.” Miller v. U.S. Postal Serv., 729 F.2d 1033, 1036 (5th Cir. 1984). However, when

consolidation would run contrary to those ends, this Court has “broad discretion” to deny a

request to consolidate matters pending before it. Alley v. Chrysler Credit Corp., 767 F.2d 138,

140 (5th Cir. 1985).

       Consolidation here would thwart Elections Administrator Longoria’s good-faith effort to

resolve her status as both a plaintiff raising her own constitutional claims and a defendant in the

cases brought by other parties challenging S.B. 1, an issue first identified by this Court. Order at

4, ECF No. 31; Notice of Voluntary Dismissal, ECF No. 138. Moreover, in this complex
          Case 5:21-cv-00844-XR Document 183 Filed 01/10/22 Page 2 of 3




litigation, coordination among the United States and private plaintiffs is critical to avoid wasteful

discovery and duplicative presentation at trial. Consolidation of Longoria with LUPE would

undermine that coordination, and the goals it seeks to advance, by impeding critical and

unfettered communication necessary for the plaintiff groups to develop and present their cases

with appropriate speed and efficiency.

       For the foregoing reasons, the United States respectfully requests this Court deny State

Defendants’ Motion to Consolidate.



Date: January 10, 2022



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                                                  2
          Case 5:21-cv-00844-XR Document 183 Filed 01/10/22 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 10, 2022, I electronically filed the foregoing with the
Clerk of the court using the CM/ECF system, which will send notification of this filing to
counsel of record.

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